Case 21-09170      Doc 19   Filed 01/04/22 Entered 01/04/22 09:38:01   Desc Main
                              Document     Page 1 of 4




                                                             1:21-bk-9170


Alejandro Jimenez Estrada




                                            July 30, 2021.




                                                                   December 23, 2021.




        1/4/2022

                                                Alejandro Jimenez Estrada

                                                Debtor
 Case 21-09170    Doc 19   Filed 01/04/22 Entered 01/04/22 09:38:01   Desc Main
                             Document     Page 2 of 4




Colin Kha T. Nguyen




                                                               4th
 January          22                                                      x




                                              Attorney Colin Kha Nguyen
Case 21-09170         Doc 19   Filed 01/04/22 Entered 01/04/22 09:38:01   Desc Main
                                 Document     Page 3 of 4




                                                              1:21-bk-9170



Alejandro Jimenez Estrada




           1/4/2022




                                                                    4th
 January              22                                                        x




                                                 Attorney Colin Kha T. Nguyen
 Case 21-09170      Doc 19   Filed 01/04/22 Entered 01/04/22 09:38:01             Desc Main
                               Document     Page 4 of 4




                                          Certificate Number: 05781-ILN-DE-036237632
                                          Bankruptcy Case Number: 21-09170


                                                         05781-ILN-DE-036237632




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on January 3, 2022, at 11:49 o'clock AM PST, Alejandro
Jimenez Estrada completed a course on personal financial management given by
telephone by Sage Personal Finance, a provider approved pursuant to 11 U.S.C.
111 to provide an instructional course concerning personal financial management
in the Northern District of Illinois.




Date:   January 3, 2022                   By:      /s/Allison M Geving


                                          Name: Allison M Geving


                                          Title:   President
